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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
AT ELKINS

KATHRYN EAKIN,

Plaintiff,
Vs. Civil Action No, 2:16-cv-86

Judge: Bailey

PORTFOLIO RECOVERY ASSOCIATES, LLC.

Defendant.

DISMISSAL ORDER
NOW COME, the parties, by counsel, and represent to the Court that all claims of

Plaintiff, Kathryn Eakin, against Portfolio Recovery Associates, LLC, Defendant, have been
settled, compromised and/or resolved. Having been so advised, this Court dismisses this action,
with prejudice, against Defendant, Portfolio Recovery Associates, LLC. Accordingly, this

matter is dismissed in its entirety and shall be stricken from this Court’s active Docket. All

parties are responsible for their own attorney’s fees and costs associated with this matter.

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Entered this (4 day of Noo euthey 2611 ®

Theonorable John Preston Bailey

 
    

 

 

Unite Strict Judge
/s/ Phillip S. Isner /si Christopher J. Preziosa
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